              Case 3:20-cv-06145-RJB Document 127 Filed 11/23/22 Page 1 of 3



                                                         THE HONORABLE ROBERT J. BRYAN
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 7
                          IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 9

10    C. P., by and through his parents,
      Patricia Pritchard and Nolle Pritchard;
11    and PATRICIA PRITCHARD,
                                                    Case No. 3:20-cv-06145-RJB
12                                    Plaintiffs,
                                                    DEFENDANT BLUE CROSS BLUE SHIELD
13           vs.                                    OF ILLINOIS’ NOTICE OF FILING RULE
                                                    23(f) PETITION FOR PERMISSION TO
14    BLUE CROSS BLUE SHIELD OF                     APPEAL
      ILLINOIS,
15
                                    Defendant.
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                                                                    KILPATRICK TOWNSEND & STOCKTON LLP
     DEFENDANT BLUE CROSS BLUE SHIELD OF ILLINOIS’ NOTICE                 1420 FIFTH AVENUE, SUITE 3700
     OF FILING RULE 23(f) PETITION FOR PERMISSION TO APPEAL                     SEATTLE, WA 98101
                                                                         (206) 626-7713 FAX: (206) 260-8946

     KILPATRICK TOWNSEND 76757733 1
              Case 3:20-cv-06145-RJB Document 127 Filed 11/23/22 Page 2 of 3




 1          TO:             CLERK OF THE COURT

 2          AND TO:         ALL COUNSEL OF RECORD

 3          PLEASE TAKE NOTICE that on November 23, 2022, Defendant Blue Cross Blue

 4 Shield of Illinois (“BCBSIL”) filed a Petition for Permission to Appeal, pursuant to Rule 23(f)

 5 of the Federal Rules of Civil Procedure, with the United States Court of Appeals for the Ninth

 6 Circuit. BCBSIL seeks permission to appeal this Court’s Order Granting Motion for Class

 7 Certification [Dkt. 113]. A copy of BCBSIL’s Rule 23(f) Petition was served via CM/ECF to

 8 Plaintiffs’ counsel on this date.

 9

10          Dated this 23rd day of November, 2022.

11                                               KILPATRICK TOWNSEND & STOCKTON LLP
12                                               By        /s/ Gwendolyn C. Payton
                                                           Gwendolyn C. Payton, WSBA No. 26752
13                                                         gpayton@kilpatricktownsend.com
                                                           John R. Neeleman, WSBA No. 19752
14                                                         jneeleman@kilpatricktownsend.com
                                                           1420 Fifth Ave., Suite 3700
15                                                         Seattle, WA 98101
                                                           Telephone: (206) 626-7714
16                                                         Facsimile: (206) 623-6793
17                                                     Counsel for Blue Cross Blue Shield of Illinois
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     DEFENDANT BLUE CROSS BLUE SHIELD OF ILLINOIS’ NOTICE             KILPATRICK TOWNSEND & STOCKTON LLP
                                                                            1420 FIFTH AVENUE, SUITE 3700
     OF FILING RULE 23(f) PETITION FOR PERMISSION TO APPEAL - 1                   SEATTLE, WA 98101
     Case No. 3:20-cv-06145-RJB                                            (206) 626-7713 FAX: (206) 260-8946


     KILPATRICK TOWNSEND 76757733 1
               Case 3:20-cv-06145-RJB Document 127 Filed 11/23/22 Page 3 of 3




                                     CERTIFICATE OF SERVICE
 1
               I certify that on the date indicated below I caused a copy of the foregoing document,
 2
     DEFENDANT BLUE CROSS BLUE SHIELD OF ILLINOIS’ NOTICE OF FILING RULE
 3
     23(f) PETITION FOR PERMISSION TO APPEAL, to be filed with the Clerk of the Court via
 4
     the CM/ECF system. In accordance with their ECF registration agreement and the Court’s rules,
 5
     the Clerk of the Court will send e-mail notification of such filing to the following attorneys of
 6
     record:
 7

 8
     Eleanor Hamburger                                      by CM/ECF
 9   SIRIANNI YOUTZ SPOONEMORE                              by Electronic Mail
     HAMBURGER                                              by Facsimile Transmission
10   3101 WESTERN AVENUE STE 350                            by First Class Mail
     SEATTLE, WA 98121                                      by Hand Delivery
11   206-223-0303                                           by Overnight Delivery
     Fax: 206-223-0246
12   Email: ehamburger@sylaw.com

13 Jennifer C Pizer                                         by CM/ECF
   LAMBDA LEGAL DEFENSE AND                                 by Electronic Mail
14 EDUCATION FUND, INC                                      by Facsimile Transmission
   4221 WILSHIRE BLVD., STE 280                             by First Class Mail
15 LOS ANGELES, CA 90010                                    by Hand Delivery
   213-382-7600                                             by Overnight Delivery
16 Email: jpizer@lambdalegal.org

17 Omar Gonzalez-Pagan                                      by CM/ECF
   LAMBDA LEGAL DEFENSE AND                                 by Electronic Mail
18 EDUCATION FUND, INC. (NY)                                by Facsimile Transmission
   120 WALL STREET                                          by First Class Mail
19 19TH FLOOR                                               by Hand Delivery
   NEW YORK, NY 10005                                       by Overnight Delivery
20 212-809-8585
   Email: ogonzalez-pagan@lambdalegal.org
21

22
               DATED this 23rd day of November 2022.
23
                                                   KILPATRICK TOWNSEND & STOCKTON
24                                                 LLP

25                                                 By:/s/ Gwendolyn C. Payton
                                                      Gwendolyn C. Payton, WSBA #26752
26
                                                   Counsel for Blue Cross Blue Shield of Illinois
27
     CERTIFICATE OF SERVICE – 2                                     KILPATRICK TOWNSEND & STOCKTON LLP
                                                                          1420 FIFTH AVENUE, SUITE 3700
                                                                                SEATTLE, WA 98101
                                                                         (206) 626-7713 FAX: (206) 260-8946
     KILPATRICK TOWNSEND 76757733 1
